 8:08-cr-00473-BCB-SMB            Doc # 48    Filed: 03/25/09   Page 1 of 1 - Page ID # 82




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                8:08CR473
                                               )
QUIRT ALAN GLAZE,                              )                  ORDER
TODD CHARLES MATTHEWS and                      )
GREG WILLIAM FANTER,                           )
                                               )
                     Defendants.               )


        This matter is before the court on the motion of Todd Charles Matthews to continue
trial (Doc. 47). The movant has filed an affidavit or declaration regarding speedy trial, as
required by NECrimR 12.1 and/or 12.3. For good cause shown, trial will be continued to
May 5, 2009.

       IT IS ORDERED that the motion (Doc. 47) is granted, as follows:

        1. The jury trial now set for April 7, 2009 is continued to Tuesday, May 5, 2009 as
to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between April 7, 2009 and May 5, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
because counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED March 25, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
